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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

GEORGE HENGLE and LULA WILLIAMS, on )
behalf of themselves and all individuals similarly )
situated,                                          )
                                                   )
        Plaintiffs,                                )
                                                   )
v.                                                 )        Civil Action No. 3:18-cv-100-REP
                                                   )
MARK CURRY, AMERICAN WEB LOAN, )
INC., AWL, INC., RED STONE, INC., )
MEDLEY OPPORTUNITY FUND II LP, and )
MEDLEY CAPITAL CORPORATION,                        )
                                                   )
        Defendants.                                )

        MEMORANDUM IN SUPPORT OF MOTION TO DISMISS PURSUANT TO
         FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1) BY DEFENDANTS
          AWL, INC.; AMERICAN WEB LOAN, INC.; AND RED STONE, INC.1

        Plaintiffs’ claims against AWL should be dismissed because the Otoe-Missouria Tribe of

Indians—a federally recognized Indian tribe—retains sovereign immunity that deprives the

federal courts of jurisdiction over claims against AWL.            It is well-established that tribal

immunity extends to “arms of the tribe” that conduct commercial activities. An entity is an arm

of the tribe where, as here, (1) the tribe created it pursuant to tribal law, (2) its purpose is to fund

essential tribal programs, (3) the tribe controls it, (4) the tribe intended for it to have sovereign

immunity, (5) the tribe depends on it for essential revenue and benefits, and (6) finding it

immune protects tribal self-determination and promotes tribal economic development. Although


1
  In addition to AWL, Inc., the Complaint names American Web Loan, Inc. and Red Stone, Inc.
(among others) as defendants. American Web Loan, Inc. is AWL, Inc.’s pre-2016 name (as well
as a name under which AWL, Inc. still occasionally does business). Red Stone, Inc. is owned by
the Otoe-Missouria Tribe and is the successor-in-interest to MacFarlane Group, Inc. (the assets
of which were assigned to AWL, Inc. in 2016). Unless otherwise specified, this memorandum
refers to AWL, Inc., American Web Loan, Inc., and Red Stone, Inc. collectively as AWL.
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plaintiffs dispute that AWL is an arm of the Tribe, including on the ground that AWL was not

genuinely directed and controlled by the Tribe, their arguments are refuted both by the Tribe’s

history and by the decade of events leading up to this lawsuit. The Tribe’s governing body was

not duped by savvy businessmen, and it is not “renting” its sovereign immunity to entities

unconnected to the Tribe. Rather, the Tribe created AWL to benefit its people—a role that AWL

has fulfilled—under the Tribe’s supervision. It is a quintessential arm of the tribe entitled to

sovereign immunity. The claims against AWL should therefore be dismissed.

                                  STATEMENT OF FACTS

       A.      The Otoe-Missouria Tribe

       1.      The Otoe-Missouria Tribe, a federally recognized Indian tribe, is a “‘separate

sovereign[] pre-existing the Constitution.’” United States v. Bryant, 136 S. Ct. 1954, 1962

(2016) (quoting Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978)). The Tribe’s lineage

traces to two tribes, the Otoe and the Missouria, that settled in the lower Missouri River Valley

in the 16th century. Shotton Decl. ¶ 8.

       Throughout the 1800s, the Tribe entered into treaties with the United States, giving up

certain land in exchange for a government-to-government relationship defined by friendship,

protection, and just and proper treatment. Shotton Decl. ¶ 12. The U.S. government broke its

promises, however, confining the Tribe to a reservation in southeast Nebraska in order to

accommodate settlers seeking farm lands west of the Mississippi. Id. ¶ 13. The Tribe’s historic

way of life, hunting buffalo, was also forcibly ended by the federal government, which favored

an agricultural economy. Id. The Tribe attempted to learn the agrarian lifestyle, but struggled to

keep non-Indian settlers off the land the United States had promised. Id. In 1881, the Otoe-

Missouria were again relocated, this time to their current lands in Red Rock, Oklahoma. Id. ¶ 14.



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        Around the turn of the 20th century, Congress attempted to assimilate Indians by opening

tribal lands for non-Indian settlement—including the Otoe-Missouria’s land in Red Rock.

Shotton Decl. ¶ 15; see also County of Yakima v. Confederated Tribes & Bands of the Yakima

Nation, 502 U.S. 251, 253-254 (1992). Tribal members were “allotted” a certain number of

acres, usually from the least-desirable areas, with the “surplus,” i.e., desirable, land sold to non-

Indians. Armen H. Merjian, An Unbroken Chain of Injustice: The Dawes Act, Native American

Trusts, and Cobell v. Salazar, 46 Gonz. L. Rev. 609, 616-617 (2011). This process robbed the

Otoe-Missouria of large portions of their land, leaving the Tribe’s members with a collection of

allotted plats held in trust for their benefit by the United States. Shotton Decl. ¶ 15.2

        2.      In 1984, the Tribe established a constitutional government that exercises the

Tribe’s sovereign powers. Shotton Decl. Ex. A. The constitution provides for both a General

Council comprising all tribal members who are registered to vote, see id. art. V, and a seven-

member Tribal Council consisting of a Chairperson, Vice-Chair, Secretary, Treasurer, and three

Members-at-Large, see id. art. VI.         The Tribal Council functions as both executive and

legislature. It possesses the authority “to transact business and otherwise speak or act on behalf

of the Tribe,” to delegate any of the Council’s powers to subordinate committees or

representatives, and to “enact ordinances and adopt regulations to administer governmental

functions of the Tribe.” Id. art. VIII, § 1.

        Council members serve three-year staggered terms. Shotton Decl. Ex. A art. VII, § 1.

Elections for certain Council seats are held each November. Id. art. VII, § 2. All enrolled tribal




2
 The allotment era came to an end in 1934 when Congress passed the Indian Reorganization
Act. 48 Stat. 984. By then, however, the damage was irreparable. See generally Cobell v.
Norton, 240 F.3d 1081, 1087-1088 (D.C. Cir. 2001).


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adults are eligible to vote upon registration. Id. art. VII, § 8. The Tribe’s constitution also sets

forth recall procedures applicable to any elected official. Id. art. VII, § 10.

        B.     The Tribe’s Economic Difficulties

        The Tribe’s geographic isolation and other factors have long resulted in significant

economic hardship; its members experience high unemployment rates and a lack of access to

fundamental resources.     Shotton Decl. ¶ 19. The Tribe’s Chairman estimates that 40% of

members live below the federal poverty line. Id. Alcohol, opioid, and other substance abuse are

chronic problems on tribal lands. Id.

        The Tribe’s ability to address these problems via tax revenue, however, is limited.

Shotton Decl. ¶ 20. As the Supreme Court has recognized, “‘there is no stable tax base on most

reservations,’” Michigan v. Bay Mills Indian Community, 134 S. Ct. 2024, 2044-2045 (2014)

(Sotomayor, J., concurring) (quoting Matthew M. Fletcher, In Pursuit of Tribal Economic

Development as a Substitute for Reservation Tax Revenue, 80 N.D. L. Rev. 759, 774 (2004))—

including the Otoe-Missouria’s. Hence, even high tax rates would yield insufficient revenue.

Furthermore, the Tribe cannot tax much of the property within its jurisdiction because it is held

in trust and therefore tax-exempt. See 25 U.S.C. § 2210. Finally, Oklahoma taxes most tribal

members’ salaries, further eroding the Tribe’s small tax base. See Decision No. 2002-07-16-011,

Oklahoma Tax Commission (July 16, 2002), https://www.ok.gov/tax/documents/2002-07-16-

011.pdf; see also Anne Zimmerman, Taxation of Indians: An Analysis and Comparison of New

Mexico and Oklahoma State Tax Laws, 41 Tulsa L. Rev. 91, 106-110 (2005).3


3
 Funding that the Tribe receives from the federal government is not remotely sufficient, Shotton
Decl. ¶ 20, and in any event is not guaranteed—as President Trump’s proposed budget for fiscal
year 2019 starkly illustrates, see National Congress of American Indians, Analysis of the FY
2019 President’s Budget at 4 (Feb. 13, 2018), http://www.ncai.org/FY2019_Presidents_Budget_
Analysis7.pdf.


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       Given these constraints, the Tribe has long pursued commercial options to raise revenue.

It has had some success building and operating casinos. Shotton Decl. ¶ 22. In 2007, however,

the neighboring state of Kansas authorized much more extensive gaming, leading many Kansas

residents to gamble in-state rather than traveling to Oklahoma to visit the Tribe’s casinos. Id.

The Tribe’s gaming revenue plummeted as a result. Id.

       C.      The Tribe’s Creation Of AWL

       1.      Facing a funding crisis from the lost gaming revenue, the Tribal Council looked to

other potential business opportunities. Shotton Decl. ¶ 23. But the Tribe’s land is too remote for

traditional enterprises to thrive. Id. ¶ 19. E-commerce therefore appealed to the Council,

because it could take place on the Tribe’s lands yet reach customers across the country. Id. ¶ 23.

Once the Tribe learned that online consumer lending was a possibility, it spent almost a year

researching the business and deliberating how it could get involved. Id. With that due diligence

completed, the Council in 2010 created American Web Loan, Inc. as a “sub-agency of the Tribal

Council and an agency of the Tribe,” “for the purpose of providing revenues with which the

Tribe may address other pressing matters of public health, safety, and welfare, or other tribal

purposes.” Shotton Decl. Ex. D §§ 201, 202. The 2010 AWL Act vested AWL with the power

to “make any and all types of consumer loans and credit financing pursuant to this Act.” Id.

§ 207(d).   It also extended the Tribe’s privileges and immunities to AWL—including its

sovereign immunity from suit. Id. § 401.

       Because the Tribe lacked the capital and experience to build a consumer-lending

operation from scratch, it relied on outside guidance and funding. Shotton Decl. ¶ 29. That

guidance came from MacFarlane Group, Inc. and its owner, Mark Curry, who had both access to

capital and experience running lending businesses. Id. ¶¶ 29-30. Through AWL, the Tribe also

entered into contracts for identity verification, risk assessment, website hosting, call-center
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oversight, and other services needed to run a lending operation. Id. ¶ 30. One vendor that

provided services to AWL was MacFarlane Group, Inc. Id.

       From its inception, AWL has been regulated by the Otoe-Missouria Consumer Financial

Services Regulatory Commission. See Shotton Decl. Ex. D § 207(d). The Commission—each

member of which is appointed by the Tribal Council—licenses lenders, supervises their

operations, and enforces tribal laws against those lenders. See Shotton Decl. Ex. B §§ 7.9(b)(1),

7.12(b), 7.13.   In 2010, the Commission granted AWL an operating license, which is a

“revocable privilege to conduct Consumer Financial Services . . . within the Tribe’s jurisdiction.”

Id. § 4.1(b). AWL’s license must be renewed biennially, with the next renewal in 2019. Id.

§ 4.5; Shotton Decl. Ex. G. Renewal will be denied if AWL fails to meet specified criteria

relating to its integrity, strength, and solvency. See Shotton Decl. Ex. B §§ 4.3, 4.5.

       One of the laws the Commission enforces against AWL and other lenders is the Tribe’s

Consumer Financial Services Ordinance, which sets forth a robust set of borrower protections.

See Shotton Decl. Ex. B. The Ordinance requires licensed lenders to comply with the consumer-

protection provisions contained in federal lending laws, such as the Truth In Lending Act, 15

U.S.C. § 1601 et seq.; the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.; and the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. Shotton Decl. Ex. B § 5.1. At the same time,

the Ordinance makes clear that the Tribe has not waived AWL’s immunity from suit under those

statutes’ enforcement mechanisms. Id. §§ 5.1, 7.6.

       The Ordinance prohibits certain conduct by licensed lenders. For example, lenders may

not publish “any advertisement that contains false, misleading or deceptive statements or

representations,” “[e]ngage in unfair, deceptive, abusive, or fraudulent practice or unfair or

deceptive advertising,” offer loans that “include a Balloon payment at maturity,” or charge



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interest and fees other than those “agreed upon by the parties.” Shotton Decl. Ex. B §§ 5.2(b);

6.1(e), (f). Licensed lenders are also required to give borrowers specified disclosures concerning

the law applicable to loans, and must allow borrowers to rescind any lending transaction before 5

pm on the second business day following origination. Id. § 6.1.

       The Ordinance reinforces AWL’s statement of purpose by enumerating the specific

governmental purposes for which lending proceeds can be used. Profits received from AWL, or

any other licensed lender owned by the Tribe, can be used only to (1) “fund the Tribe’s

government operations or programs,” (2) “provide for the public health and general welfare of

the Tribe and its members and visitors to the Tribal community,” (3) “promote the Tribe’s

economic development and self-sufficiency,” or (4) “donate to charitable organizations.”

Shotton Decl. Ex. B § 1.3.

       2.      As the expiration dates of the Tribe’s agreements with Curry and others grew

near, the Tribal Council considered steps to increase the revenue it received from AWL. After

deliberation, it concluded that the Tribe’s interests would be best served if it purchased

MacFarlane Group outright and brought the services MacFarlane Group was providing in-house.

Shotton Decl. ¶¶ 31-32. During the 14-month negotiations that ensued over that purchase, the

Tribal Council held fast to three goals: (1) bringing the services provided by MacFarlane Group

under the AWL umbrella in order to eliminate existing third-party payments and increase

revenue to the Tribe, (2) retaining sufficient expertise from MacFarlane Group to permit a

smooth transition to complete tribal ownership, and (3) building the foundation for the Tribe to

run every aspect of the business. Id.

       In October 2016, the Tribe and Curry finalized a deal under which the Tribe acquired

MacFarlane Group. Shotton Decl. ¶ 34. The Tribal Council accomplished this by approving a



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merger of its entity Red Stone, Inc. and MacFarlane Group, out of which Red Stone was the

surviving company. Id. ¶¶ 34-35. AWL subsequently acquired MacFarlane Group’s assets from

Red Stone. Id. ¶ 36.4

        The purchase of MacFarlane Group accomplished each of the Tribal Council’s goals. For

example, the Tribe eliminated many of the fees it previously paid for various lending services,

thus increasing the profits that inured to the Tribe.    Shotton Decl. ¶ 36.    As part of the

transaction, moreover, Curry and other MacFarlane Group employees, many of whom were

experts in critical areas like loan servicing, information technology, and human resources,

became employees of AWL and thereby employees of the Tribe. Id. ¶ 37. Tribal employees

now perform nearly all aspects of AWL’s lending business, including establishing underwriting

criteria; approving and originating loans; operating the call center; collecting payment; and

managing marketing, accounting, human resources, risk/analytics, and information technology.

Id. ¶ 38. Retaining the former MacFarlane Group employees, including Curry as CEO, also

ensured continuity in business operations and provided the Tribe with adequate support as it

grew into its newly acquired company. Id. ¶ 37. Finally, the Tribe arranged for seller financing

of the transaction by negotiating a five-year note to be paid out of AWL’s profits. Id. ¶ 33.

Once the loan is repaid, the Tribe expects to receive substantially more revenue from AWL

(beyond the increase already experienced following the MacFarlane Group acquisition). Id.

        In connection with the MacFarlane Group acquisition, the Tribal Council renamed

American Web Loan, Inc. as AWL, Inc. Shotton Decl. Ex. J § 103. AWL, Inc.’s 2016 articles



4
 Red Stone, like AWL, is wholly owned by the Tribe. Shotton Decl. Ex. H. And also like
AWL, Red Stone was created for “the purpose of providing revenues with which the [Tribe] may
address other pressing matters of public health, safety, and welfare, or other Tribal purposes.”
Shotton Decl. Ex. I art. 2.


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of incorporation again emphasize that AWL’s “sole purpose is to generate long-term and

sustainable revenue . . . so that the Tribal Council may better provide essential government

services to the Tribe’s Membership.”      Id. § 204.   As before 2016, the Tribe remains the

business’s sole shareholder. Id. § 401. The articles also provide AWL with immunity from suit,

in order “[t]o protect the limited and irreplaceable AWL assets from large and unwarranted

judgments, and to safeguard Trib[al] self-governance.” Id. § 302. And they direct AWL’s board

to “at all times endeavor to manage and operate AWL with the objective of minimizing expenses

and maximizing dividends to the Tribe.” Id. § 505(C). In keeping with that direction, the

articles limit the distribution of AWL revenues to (1) “settl[ing] outstanding AWL Obligations,”

(2) “mak[ing] dividend payments to the [Tribe]” and (3) donating to charitable organizations. Id.

       The Tribal Council selected AWL’s initial board of directors through legislative action,

equally dividing the board between tribal officials and industry experts. Shotton Decl. ¶ 40. In

the event of a deadlock among directors, the articles of incorporation require mediation by an

independent, mutually agreed-upon mediator. Shotton Decl. Ex. J § 711(C). However, deadlock

has never occurred; in fact, the board almost always makes decisions unanimously. Shotton

Decl. ¶ 41.

       D.     Revenue From AWL

       As explained, all of AWL’s profits inure to the Tribe, providing it with a large and

consistent revenue stream.    Shotton Decl. ¶ 42.      Some of the money goes to repairing,

maintaining, and replacing tribal infrastructure. Id. ¶ 43. This investment is long overdue, in

that many buildings on the reservation were sorely in need of repair because they were

constructed in the 1970s and 1980s, when the Tribe could not afford to maintain them. Id. AWL

revenues have made this possible. Id. In the first two years of AWL’s business, moreover, the

Tribe used AWL revenue to build 20 homes on the reservation. Id. ¶ 44. When opportunities
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arise, the Tribe also buys back land within its jurisdiction—another step that was not possible

before its treasury was supplemented with revenue from AWL. Id. ¶ 45. Lending proceeds have

also funded the construction of a new building for the Tribe’s Head Start participants. Id. ¶ 47.

        The Tribe provides members in need with anything from eyeglasses and school clothes to

a home and a college education. Shotton Decl. ¶ 46. For example, members can apply to the

Tribal Council for a $10,000 grant for a down payment on a new home. Id. ¶ 43. College

students can apply for grants to fund their university expenses; in most cases, the Tribe can cover

the costs that remain after scholarships and federal grants, allowing students to attend public

universities at no cost to them. Id. ¶ 46. Revenue from lending has allowed the Tribe to expand

this benefit to graduate school programs as well. Id. The Tribe also runs a daycare, which

serves around 35 children, and provides employment training, including assistance in obtaining

GEDs and hosting training classes for commercial driver’s licenses. Id. ¶¶ 46, 48. And the Tribe

invests in preserving its unique culture, including through language-revitalization programs. Id.

¶ 49.

        The revenue the Tribe expects to receive from AWL in the coming years will continue

providing these services—and others. Dozens of members, for example, remain on the waitlist

for tribal housing. Shotton Decl. ¶ 50. Similarly, while the Tribe funds members’ medical

needs, it needs to build its own health clinic, as members must now travel over 20 miles for

healthcare services. Id. A substance-abuse treatment center would also provide much-needed

support for the Tribe’s members battling addiction. Id. Additionally, the Tribe needs to build

both a homeless shelter and a shelter for children who have been removed from their homes. Id.

These and other improvements would not be possible without AWL’s revenue—revenue that, as




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explained, must be used (setting aside charitable contributions) to fund the Tribe or to help its

members.

                                     LEGAL STANDARD

       A governmental defendant’s sovereign immunity deprives courts of subject-matter

jurisdiction. Smith v. Washington Metropolitan Area Transit Authority, 290 F.3d 201, 205 (4th

Cir. 2002) (citing Medina v. United States, 259 F.3d 220, 223 (4th Cir. 2001)). This is as true of

tribal immunity as of other forms of sovereign immunity. See E.F.W. v. St. Stephen’s Indian

High School, 264 F.3d 1297, 1302-1303 (10th Cir. 2001). In resolving a Rule 12(b)(1) motion,

“the court may consider the evidence beyond the scope of the pleadings to resolve factual

disputes concerning jurisdiction.” Williams v. United States, 50 F.3d 299, 304 (4th Cir. 1995).

The allegations in the complaint, moreover, are not entitled to any “presumption of truthfulness.”

Beck v. McDonald, 848 F.3d 262, 270 (4th Cir. 2017).

                                         ARGUMENT

DISMISSAL OF PLAINTIFFS’ CLAIMS IS REQUIRED BECAUSE AWL ENJOYS TRIBAL
SOVEREIGN IMMUNITY

       A.      Consistent With Principles Of Tribal Self-Governance, Sovereign Immunity
               Extends To An “Arm Of The Tribe” Engaged In Commercial Activity

       From the early years of the United States, the Supreme Court has recognized Indian tribes

as “distinct, independent political communities, retaining their original natural rights, as the

undisputed possessors of the soil, from time immemorial.” Worcester v. Georgia, 31 U.S. 515,

559 (1832). Tribes thus possess an inherent sovereignty that predates the U.S. Constitution, and

they exercise this sovereignty by enacting laws and regulations, fostering relationships with other

sovereigns (states and the federal government), preserving cultural identity, and improving their




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economies and the well-being of their citizens. See generally Williams v. Lee, 358 U.S. 217

(1959); Santa Clara Pueblo, 436 U.S. at 55-56.5

       One of the fundamental components of tribal sovereignty is immunity from suit.

Recognized as “part of American jurisprudence for well over a century,” it is now established

that tribes possess immunity against unconsented suit. Bay Mills, 134 S. Ct. at 2040 (Sotomayor,

J., concurring) (citing Parks v. Ross, 52 U.S. 362 (1851), and secondary sources).               This

immunity is “a necessary corollary to Indian sovereignty and self-governance.” Three Affiliated

Tribes of the Fort Berthold Reservation v. Wold Engineering, 476 U.S. 877, 890 (1986).

Subjecting a tribe to suit without its consent interferes with the tribal government’s authority,

threatening the tribe’s “ability to govern itself according to its own laws,” id. at 891, and its

economic well-being, Santa Clara Pueblo, 436 U.S. at 71.

       Tribal immunity extends to commercial as well as governmental actions, and to both on-

and off-reservation activities. See Kiowa Tribe of Oklahoma v. Manufacturing Technologies,

Inc., 523 U.S. 751, 755 (1998); see also Bay Mills, 134 S. Ct. at 2031. It also extends beyond

tribes themselves, to “arms of the tribe,” i.e., tribal entities that conduct commercial activity. See

Thomas v. Dugan, 168 F.3d 483, at *1 (4th Cir. 1998) (per curiam); Breakthrough Management

Group, Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1183 (10th Cir. 2010);

Memphis Biofuels, LLC v. Chickasaw Nation Industries, Inc., 585 F.3d 917, 920-921 (6th Cir.

2009); Allen v. Gold Country Casino, 464 F.3d 1044, 1046 (9th Cir. 2006); Hagen v. Sisseton-

Wahpeton Community College, 205 F.3d 1040, 1043 (8th Cir. 2000); Ninigret Development

Corp. v. Narragansett Indian Wetuomuck Housing Authority, 207 F.3d 21, 29 (1st Cir. 2000).


5
 Congress can abrogate tribal sovereign immunity, but its intent to do so must be “unequivocally
expressed.” Santa Clara Pueblo, 436 U.S. at 58. There is no suggestion that Congress has done
so here.


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       Extending immunity to arms of the tribe that conduct commercial activities is consistent

with the purposes of tribal immunity. Tribal business operations “are critical to the goals of

tribal self-sufficiency because such enterprises . . . ‘may be the only means by which a tribe can

raise revenues.’” Bay Mills, 134 S. Ct. 2036 (Sotomayor, J., concurring) (quoting Catherine T.

Struve, Tribal Immunity and Tribal Courts, 36 Ariz. St. L. J. 137, 169 (2004)). Indeed, federal

policy for the past few decades has been to encourage tribal economic development, with the

goal of decreasing tribal dependence on federal funding. See California v. Cabazon Band of

Mission Indians, 480 U.S. 202, 217 n.20 (1987) (“‘It is important to the concept of self-

government that tribes reduce their dependence on Federal funds by providing a greater

percentage of the cost of their self-government.’”).

       B.      AWL Is An Arm Of The Otoe-Missouria Tribe Entitled To Sovereign
               Immunity

       To evaluate whether an entity qualifies as an arm of a tribe, courts within this circuit have

relied on the Breakthrough test. See Howard v. Plain Green, LLC, 2017 WL 3669565 at *3-6

(E.D. Va. Aug. 7, 2017); report and recommendation adopted, 2017 WL 3669096 (E.D. Va.

Aug. 24, 2017); Everette v. Mitchem, 146 F. Supp. 3d 720, 723-725 (D. Md. 2015). That test

looks at six factors: (1) the entity’s method of creation, (2) its purpose, (3) the entity’s structure,

ownership, and management, including the amount of control the tribe has over it, (4) whether

the tribe intended it to have tribal sovereign immunity, (5) the financial relationship between the

tribe and the entity, and (6) whether the purposes of tribal sovereign immunity are served by

granting immunity to the entity. Breakthrough, 629 F.3d at 1181.

       Applying these factors leaves no doubt that AWL is an arm of the Tribe—that is, “the

relationship between the tribe and [AWL] is sufficiently close to properly permit [AWL] to share

in the tribe’s immunity,” Breakthrough, 629 F.3d at 1183. Indeed, one court in this district has


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already applied the Breakthrough test to determine that a tribal lending entity qualified as an arm

of its respective tribe entitled to sovereign immunity. See Howard, 2017 WL 3669565, at *1.

Specifically, the court held that it lacked jurisdiction over claims against Plain Green, LLC, a

lending company formed by a federally recognized tribe, because Plain Green promoted the

tribe’s general welfare by increasing tribal revenues; serving the tribe’s social, economic,

educational, and health needs; and enhancing its economic self-sufficiency and self-

determination. Id.; see also Everette, 146 F. Supp. 3d at 721-722 (dismissing claims against

MobiLoans and Riverbend Cash, online lending companies owned by federally recognized tribes

and formed under tribal law to raise revenue for the tribes). For similar reasons, the same result

is warranted here.

               1.     The Tribal Council Created AWL Under Otoe-Missouria Law

       The first Breakthrough factor is how the tribal entity at issue was created. See 629 F.3d

at 1191-1192. AWL was created by resolution of the Otoe-Missouria Tribal Council under the

Tribe’s Corporations Act, and to this day it operates pursuant to tribal law, including the Tribe’s

Consumer Financial Services Ordinance. Shotton Decl. Ex. D, Ex. B § 4.3. This factor therefore

weighs in favor of immunity. See Howard, 2017 WL 3669565, at *3 (so holding after noting

that “Plain Green was formed by the Tribe’s governing body under the laws of the Tribe” and

“operates pursuant to tribal law”); Everette, 146 F. Supp. 3d at 724 (same).

               2.     AWL’s Purpose Is To Fund Essential Government Programs

       AWL’s founding documents and other Otoe-Missouria laws make clear that AWL’s

animating purpose is to fund and otherwise strengthen the Tribe. The second Breakthrough

factor—which evaluates whether a tribal entity was founded for the financial benefit of the Tribe

or to permit it to perform governmental functions, see 629 F.3d at 1192—therefore also favors

immunity here. See Howard, 2017 WL 3669565, at *3 (second factor supported immunity

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where the lending entity was created “for the tribe’s financial benefit”); Everette, 146 F. Supp.

3d at 724 (similar, where “the tribes created the companies to financially benefit the tribes and

fund governmental services”).

       As discussed, the Tribal Council established AWL “for the purpose of providing

revenues with which the Tribe may address other pressing matters of public health, safety, and

welfare, or other tribal purposes.” Shotton Decl. Ex. D § 201. The Council also imposed a

separate limitation on the use of those funds, making clear in the Tribal Consumer Financial

Services Ordinance that lending revenues could be used (setting aside charitable contributions)

only for a limited set of governmental purposes. See Shotton Decl. Ex. B § 1.3(a). Those

purposes are almost identical to the purposes for which tribal gaming revenue can be used under

federal law. See 25 U.S.C. § 2710(b)(2)(B). Thus, not only was AWL established “for the

financial benefit of the Tribe,” Breakthrough, 629 F.3d at 1192, but those financial benefits are

actually going to governmental purposes, such as “develop[ing] the tribe’s economy, fund[ing]

its governmental services, or promot[ing] cultural autonomy,” People ex rel. Owen v. Miami

Nation Enterprises, 386 P.3d 357, 372 (Cal. 2016).

              3.      The Tribe Controls AWL

       The Tribe is AWL’s sole shareholder, operator, and regulator; it therefore “controls” the

business within the meaning of the third Breakthough factor. 629 F.3d at 1191. It does so in

several ways. First, the Tribal Council selected AWL’s board of directors through legislative

action, equally dividing the board between tribal officials and industry experts. Shotton Decl.

¶ 40. This means that at least one of the Tribe’s appointees must consent before the board can

take any significant actions affecting AWL. Second, the Tribe owns AWL’s only share. Shotton

Decl. Ex. J § 401; see Howard, 2017 WL 3669565, at *4 (the lender’s “structure, ownership, and

management” supported immunity because it was “wholly-owned by the Tribe through a holding
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company”); Everette, 146 F. Supp. 3d at 724 (same, for that case’s tribal lender). As AWL’s

sole shareholder, the Tribe may amend AWL’s Articles of Incorporation, and exercise other

powers specified in those Articles. Shotton Decl. Ex. J §§ 401, 1202. Third, the Tribe’s

Consumer Financial Services Regulatory Commission—a governmental subdivision of the

Tribe—oversees AWL’s conduct using its licensing, supervisory, and enforcement powers.

Shotton Decl. Ex. B § 7.13. The Commission’s regulatory control has been recognized outside

the Tribe, including by Oklahoma’s attorney general. Shotton Decl. Ex. C. All this easily

suffices under the third Breakthrough factor because “control” under that factor does “not mean

control of business minutiae; the tribe can be enmeshed in the direction and control of the

business without being involved in the actual management.” Owen, 386 P.3d at 373 (quoting

Gavle v. Little Six, Inc., 555 N.W.2d 284, 295 (Minn. 1996)). As just explained, the Tribe is

amply “enmeshed” in the direction and control of AWL.

       Plaintiffs’ contrary argument rests on their suggestion that whatever control the Tribe

exercises over AWL is “merely a front” for Mark Curry. See, e.g., Compl. ¶¶ 30-35. That is

simply false—and as noted, in the context of this motion the allegation need not be blindly

credited. Far from being a mere “front,” AWL is an active corporation. See, e.g., Shotton Decl.

¶ 28. Since the Tribe acquired MacFarlane Group in 2016, moreover, many of the services that

were previously outsourced are now performed by employees of the Tribe. Id. ¶ 38.6



6
  Only AWL’s current relationship to the Tribe is relevant to the immunity analysis. See Owen,
386 P.3d at 375 (relying on present corporate relationships for purposes of the arm-of-the-tribe
inquiry); Colorado v. Cash Advance, 2012 WL 3113527 (Colo. Dist. Ct. Feb. 18, 2012)
(emphasizing that, for purposes of performing arm-of-the-tribe analysis, “[w]hat matters is
whether the tribes now own and operate the entities, not whether they owned and operated them
at any other time”). Cf. Straub v. AP Green, Inc., 38 F.3d 448 (9th Cir. 1994) (holding in the
closely analogous foreign-sovereign-immunity context that a corporate defendant is immune
from suit if it is currently an arm of a foreign state, regardless of its status at the time of the


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       The fact that MacFarlane Group previously provided AWL certain services provides no

basis for denying tribal sovereign immunity. Tribes have long relied on similar arrangements,

for example, in the gaming industry, yet courts have not held that those arrangements strip a

tribal gaming entity of its arm-of-the-tribe status. To the contrary, the Tenth Circuit upheld a

tribal tobacco company’s sovereign immunity even though it had retained a non-Indian company

to manage its business. Native American Distributing v. Seneca-Cayuga Tobacco Co., 546 F.3d

1288, 1296 (10th Cir. 2008); see also, e.g., Cabazon Band of Mission Indians v. Riverside, 783

F.2d 900, 901 (9th Cir. 1986), aff’d sub nom. California v. Cabazon Band of Mission Indians,

480 U.S. 202 (1987) (recognizing casino was run by “non-Indian professional operators, who

receive[d] a percentage of the profits”). Indeed, the Tribe itself contracted for assistance from

non-Indian entities when it first entered the gaming business.         It needed financing and

operational assistance when it entered the industry, and secured both a loan and casino-

management expertise from an outside company. Shotton Decl. ¶ 21. After gaining a few years

of experience, the Tribe ended its relationship with the management company and hired that

company’s recommended manager as an employee of the Tribe. Id. That decision allowed the

Tribe to bring more aspects of the gaming business in-house, thereby increasing its returns. Id.

       What Native American Distributing, Cabazon, and other similar decisions recognize is

that using outside vendors is commonplace business activity—including among state

government-owned enterprises. For example, New York City’s comptroller recently sought to

hire an investment-management firm to manage portions of the city’s retirement and pension

funds. See Solicitation: Emerging Markets Equity Active Investment Management Services,



underlying conduct); Belgrade v. Sidex International Furniture Corp., 2 F. Supp. 2d 407, 414
(S.D.N.Y. 1998) (same).


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145      New        York      City      Record        833,     839      (Feb.      15,      2018),

http://www.nyc.gov/html/dcas/downloads/pdf/cityrecord/cityrecord-02-15-18.pdf.           Similarly,

most state governments that operate a lottery sell tickets through independently owned retailers.

That includes Oklahoma, which operates a lottery that, although designed to benefit the public

education system, depends on “a statewide network of lottery retailers,” each of which is

compensated “in the form of commissions” on gross sales. Okla. Stat. Ann. Title 3A, §§ 702,

717. Despite this use of outside vendors, no court has questioned state lotteries’ sovereign

status; in fact, multiple courts have upheld their immunity from suit. E.g., Curcio v. Department

of Lottery, 164 So. 3d 750, 754 (Fla. Ct. App. 2015); Seneca One, LLC v. Geulakos, 38 N.E.3d

307, 442-445 (Mass. App. Ct. 2015); Janis v. California Lottery Commission, 68 Cal. App. 4th

824, 829-831 (1998). The same result should obtain here.

               4.      The Tribe Intended To Share Its Immunity With AWL

       The fourth Breakthrough factor is whether the Tribe intended to share its sovereign

immunity with the tribal entity. 629 F.3d at 1193-1194. In considering this factor, courts

typically look to tribal ordinances or the entity’s articles of incorporation. See Howard, 2017

WL 3669565, at *4 (finding this factor “unequivocally” met where articles of organization

expressly conferred sovereign immunity on lending entity); Everette, 146 F. Supp. 3d at 725

(noting language explicitly conferring sovereign immunity in entity charter, operating agreement,

and articles of organization). This factor is satisfied here. In fact, plaintiffs appear to concede

the point, suggesting that sovereign immunity was what motivated the Tribe to form AWL in the

first place. Compl. ¶ 2.

       The Tribe has consistently expressed its intent that AWL share its sovereign immunity—

beginning with the 2010 ordinance creating AWL, which provides that “[n]othing in this Act

shall be construed as a waiver of any sovereign immunity afforded to . . . AWL,” Shotton Decl.
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Ex. D § 401.        That same intent is evinced by the Tribe’s Consumer Financial Services

Ordinance, which states that lenders licensed by the Tribe “possess all the privileges and

immunities of the Tribe allowed under Tribal and federal law, including sovereign immunity

from suit in any Tribal, Federal, or state court.” Shotton Decl. Ex. B § 7.6(a). The Tribal

Council reaffirmed this objective in a recent amendment to its Corporations Act, which makes

clear that a corporation wholly owned by the Tribe and incorporated under tribal law “shall be

considered an arm and instrumentality of the Tribe, and shall be vested with all attributes of

tribal sovereignty.” Shotton Decl. Ex. F § 1301. Finally, the most recent AWL Act reiterates the

Tribe’s intent to “cloak[]” AWL “with all the privileges and immunities of the Tribe . . .

including Sovereign immunity from suit.” Shotton Decl. Ex. J § 302.

               5.       The Tribe Depends On AWL’s Revenue For Essential Government
                        Services And Benefits

       As discussed, see supra pp. 9-10, AWL provides the Tribe with substantial funds that are

critical to the Tribe’s government and its social programs. Because the Tribe thus depends on

AWL “for revenue to fund its governmental functions, its support of tribal members, and its

search for other economic development opportunities,” Breakthrough, 629 F.3d at 1195, the fifth

factor also favors immunity. See Everette, 146 F. Supp. 3d at 725 (fifth factor satisfied where

revenue was used “to fund the provision of government services”).

       The substantial funds that AWL provides have allowed the Tribe to expand a number of

the government services and benefits it offers. Shotton Decl. ¶¶ 42-49. Revenue from AWL

helps fund the Tribe’s services and programs relating to infrastructure, housing, education, job

training, and more. Put simply, lending provides the Tribe with the possibility of economic

stability after a prolonged struggle with poverty.




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        Plaintiffs’ allegation that the Tribe receives only 1% of AWL revenue, e.g., Compl. ¶ 35,

is both untrue and irrelevant to this factor, which looks not a business’s profit margins, but at

profits, and specifically at whether “profits inure to the benefit of the Tribe.” Howard, 2017 WL

3669565, at *4. If instead the arm-of-the-tribe inquiry focused on matters such as profit margins

or total dollar amounts, it would amount to nothing more than an analysis of whether the

business is sufficiently successful from an economic standpoint. A struggling tribal enterprise

that fails to turn a profit would lose its arm-of-the-tribe status even if failure to turn a profit was

simply due to macroeconomic conditions beyond the tribe’s control. Nothing in law or policy

dictates such a result.

        The 2016 AWL Act provides that the AWL board of directors “shall at all times endeavor

to manage and operate AWL with the objective of minimizing expenses and maximizing

dividends to the Tribe,” and it limits AWL to distributing revenue to “settle outstanding AWL

Obligations,” “make dividend payments to the Shareholder” (the Tribe), or make charitable

donations. Shotton Decl. Ex. J § 505(C). AWL’s profits therefore “inure to the Tribe’s benefit”

because its “capital surplus . . . shall be deposited in the Tribe’s treasury and because the Tribe,

as the sole shareholder, enjoys all of the benefits of an increase in . . . value.” Cook v. AVI

Casino Enterprises, Inc., 548 F.3d 718, 726 (9th Cir. 2008); see also Howard, 2017 WL

3669565 at *4. That is what matters under this factor.

                6.        Recognizing AWL’s Immunity From Suit Protects Tribal                    Self-
                          Determination And Promotes Tribal Economic Development

        The final Breakthrough factor, which examines the purposes of tribal sovereign

immunity, also weighs in favor of treating AWL as an arm of the Tribe. Extending the Tribe’s

immunity here serves at least two of those purposes: protecting tribal self-determination by




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promoting economic development, and protecting the Tribe’s treasury. See Breakthrough, 629

F.3d at 1188, 1195.

        As explained, AWL “promotes economic development and self-sufficiency” for the

Tribe, thereby accomplishing “a central purpose underlying tribal immunity.” Howard, 2017

WL 3669565, at *4 (citing Kiowa Tribe, 523 U.S. at 757). The money the Tribe earns from

consumer lending is invested in the Tribe’s future, increasing the potential the Tribe will one day

be able to rely less on federal funding for basic government operations. Shotton Decl. ¶ 51.

AWL also promotes economic development by promoting commercial dealings between the

Tribe and non-Indians—its relationships with non-tribal vendors and customers being the two

most obvious examples. See Howard, 2017 WL 3669565, at *4.

        Without AWL’s revenue, the Tribe would be forced to curtail critical social programs on

which its members depend, and to abandon the legislative priorities its Tribal Council has

established in furtherance of tribal self-determination. Because the Tribe is the sole owner of

AWL, “there is no question” that the economic advantages provided by AWL “inure to the

benefit of the Tribe” and that immunity “directly protects the sovereign Tribe’s treasury.” Allen

v. Gold Country Casino, 464 F.3d 1044, 1047 (9th Cir. 2006) (citing Alden v. Maine, 527 U.S.

706, 750 (1999)). To interfere with the Tribe’s limited means of economic development would

therefore not only devastate the Tribe’s economy, but also violate one of the most fundamental

tenets of tribal sovereignty: the right of a tribe to provide for its people.7



7
  It is also noteworthy that the manner in which the Tribe established AWL, by seeking outside
investment and technical expertise, is consistent with current federal Indian policy of self-
determination. Congress has emphasized that “the twin goals of economic self-sufficiency and
political self-determination for Native Americans can best be served by making available . . . the
resources of the private market, adequate capital, and technical expertise.” Native American
Business Development, Trade Promotion, and Tourism Act of 2000, Pub. L. No. 106-464 (Nov.


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       C.      Red Stone Is Entitled To Sovereign Immunity

       Red Stone, Inc. likewise shares the Otoe-Missouria Tribe’s sovereign immunity.

Plaintiffs do not allege or even suggest that the relationship between Red Stone and the Tribe is

insufficiently close to permit Red Stone to share in the Tribe’s sovereign immunity. For good

reason: Like AWL, Red Stone satisfies each of the six Breakthrough factors. It was created by

the Otoe-Missouria Tribal Council, and to this day it operates pursuant to tribal law. Shotton

Decl. Ex. H. It was created “for the benefit of the Tribe” and for “the purpose of providing

revenues with which the [Tribe] may address other pressing matters of public health, safety, and

welfare, or other Tribal purposes.” Shotton Decl. Ex. I art. 2. It is wholly owned by the Tribe,

and the seven members of the Tribal Council serve as Red Stone’s board of directors. Shotton

Decl. Ex. H, Ex. I art. 4(a). The Tribe has also explicitly expressed its “intent to confer upon

Red Stone[] all of the rights, privileges, and immunities . . . to the same extent the Tribe would

have such rights, privileges and immunity.” Shotton Decl. Ex. I art. 12. Any profits generated

by Red Stone inure to the Tribe as its sole owner. Shotton Decl. Ex. H. Finally, granting

immunity to Red Stone protects tribal self-determination by promoting economic development

and protecting the Tribe’s treasury. See Breakthrough, 629 F.3d at 1195.

       The only reason plaintiffs provide for disregarding Red Stone’s arm-of-the-tribe status is

that by purchasing MacFarlane Group, a Nevada company, Red Stone somehow “voluntarily


7, 2000). To serve those “twin goals,” Congress recognized an “obligation” on the part of the
United States to “encourage investment from outside sources” in Indian businesses and to
“facilitate economic ventures with outside entities that are not tribal entities.” Id. Nowhere did
Congress indicate that pursing these goals by employing non-Indians or relying on outside
vendors would have any impact on the sovereign immunity of a tribal entity—understandably so,
since that would risk undermining the very goals Congress sought to promote. Access to capital
is, as Congress recognized, a critical predicate for tribal economic development; penalizing tribes
like the Otoe-Missouria for pursuing one of the only meaningful options available to them to
increase government revenue would decimate their potential for self-determination.


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subject[ed]” itself to Nevada law, thus waiving its sovereign immunity. Compl. ¶ 4 n.2. Tribal

sovereign immunity is not so easily lost. A tribe can waive it by express statement, but not by

implication. See Amerind Risk Management Corp. v. Malaterre, 633 F.3d 680, 687 (8th Cir.

2011) (no waiver of sovereign immunity where arm of the tribe executed a general assumption of

the “obligations and liabilities” of a non-tribal entity). Even Sommerlott v. Cherokee Nation

Distributors, Inc., 686 F.3d 1144 (10th Cir. 2012), which plaintiffs cite for this proposition, does

not go so far. There, the Tenth Circuit considered an entity owned by the Citizen Potawatomi

Nation but still incorporated under state law, and relied solely on the entity’s jurisdiction of

incorporation to conclude it did not share the tribe’s sovereign immunity.            Id. at 1149.

MacFarlane Group, by contrast, ceased to exist after the merger. Red Stone, the remaining

entity, is incorporated under tribal law. Its purchase of a company incorporated under Nevada

law does not alter the conclusion that it is entitled to sovereign immunity.

                                          *      *       *

       In sum, each of the six Breakthrough factors supports the conclusion that AWL is an arm

of the Otoe-Missouria Tribe, and thus immune from suit.

                                         CONCLUSION

       Plaintiffs’ claims against AWL, Inc., American Web Loan, Inc., and Red Stone, Inc.

should be dismissed for lack of subject-matter jurisdiction.




April 18, 2018                                 Respectfully submitted,

                                               AWL, INC., AMERICAN WEB LOAN, INC., and
                                               RED STONE, INC.

                                               By Counsel



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                               CERTIFICATE OF SERVICE

       On this 18th day of April, 2018, I will electronically file the foregoing with the Court

using the CM/ECF system, which will then send an electronic notification of such filing to all

counsel of record.



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